Case 3:20-cv-04423-JD Document 248-21 Filed 02/13/23 Page 1 of 27




         EXHIBIT 61
         Case 3:20-cv-04423-JD Document 248-21 Filed 02/13/23 Page 2 of 27




    Schneider, et al. v. YouTube, et al.: Plaintiffs’ February 25, 2022 List of Infringements



                                     AST Publishing Ltd.

1. https://www.youtube.com/watch?v=F8JnyUM3rTA                My Children
2. https://www.youtube.com/watch?v=Dkk3im7Adug                Zuleikha Opens Her Eyes
3. https://www.youtube.com/watch?v=LCeJiHSPNtI                My Children
4. https://www.youtube.com/watch?v=o878yndaHqY                Zuleikha Opens Her Eyes
5. https://www.youtube.com/watch?v=EtpGEiQfZwU                Zuleikha Opens Her Eyes
6. https://www.youtube.com/watch?v=1_P6wB-l1S8                Zuleikha Opens Her Eyes
7. https://www.youtube.com/watch?v=BLmihMyUFig                History of the Russian State
8. https://www.youtube.com/watch?v=CVTbPBUNNbY                Zuleikha Opens Her Eyes
9. https://www.youtube.com/watch?v=f2Ren3Rvm2k                Zuleikha Opens Her Eyes
10. https://www.youtube.com/watch?v=fICXqknsmLw               My Children
11. https://www.youtube.com/watch?v=FyQsS7DOPio               History of the Russian State
12. https://www.youtube.com/watch?v=G2ohmx4-fn8               My Children
13. https://www.youtube.com/watch?v=j0Iz81gckOA               Zuleikha Opens Her Eyes
14. https://www.youtube.com/watch?v=JdJtCI43NIw               My Children
15. https://www.youtube.com/watch?v=nIWBd1aWkO8               My Children
16. https://www.youtube.com/watch?v=pXOhkAvCz3w               My Children
17. https://www.youtube.com/watch?v=Qz1TS_N_D0E               My Children
18. https://www.youtube.com/watch?v=RRb2KSZoxp0               My Children
19. https://www.youtube.com/watch?v=vjN5pmpBblg               My Children
20. https://www.youtube.com/watch?v=ZbIuMr3n8oM               Nutty Buddha
21. https://www.youtube.com/watch?v=2XJl1AP_vg8               Pelagia and the Red Rooster
22. https://www.youtube.com/watch?v=7LFHLHjyt4w               Pelagia and the Red Rooster
23. https://www.youtube.com/watch?v=hjl3Wd_nslg               Spy Novel
                                                              The Life of Wonderful People and
24. https://www.youtube.com/watch?v=iOQzgWY8ye4               Animals: Short Stories About All
                                                              Sorts of Different Things
25. https://www.youtube.com/watch?v=TMJcIsphe9U               Pelagia and the Red Rooster
26. https://www.youtube.com/watch?v=uC8HMU40sjg               Children's Book


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         Case 3:20-cv-04423-JD Document 248-21 Filed 02/13/23 Page 3 of 27




27. https://www.youtube.com/watch?v=x7Rb2H3Ow8w       Pelagia and the Red Rooster
28. https://www.youtube.com/watch?v=msJslyYoqIc       Zuleikha Opens Her Eyes
29. https://www.youtube.com/watch?v=OeCBn65F0LM       Zuleikha Opens Her Eyes
30. https://www.youtube.com/watch?v=FubxlOZE59s       History of the Russian State
31. https://www.youtube.com/watch?v=LAE9A2mEgjQ       History of the Russian State
32. https://www.youtube.com/watch?v=NzJ1hnFbWV8       History of the Russian State
33. https://www.youtube.com/watch?v=T-rm0HawLU4       History of the Russian State
34. https://www.youtube.com/watch?v=eYz5lG2fwD8       History of the Russian State
35. https://www.youtube.com/watch?v=0s2YAGC9QfE       History of the Russian State
36. https://www.youtube.com/watch?v=6sXPe9H9B6Q       History of the Russian State
37. https://www.youtube.com/watch?v=o-2VuEzq3mE       History of the Russian State
38. https://www.youtube.com/watch?v=5GhwQLkWeEk       Nutty Buddha
39. https://www.youtube.com/watch?v=B-ofBbFd1dA       Nutty Buddha
40. https://www.youtube.com/watch?v=_dLfMtSQaOA       Nutty Buddha
41. https://www.youtube.com/watch?v=7niKMT8Ebzo       Nutty Buddha
42. https://www.youtube.com/watch?v=PVR_Vh183YQ       Nutty Buddha
                                                      #Selfmama. Life Hacks For a
43. https://www.youtube.com/watch?v=31RE4aCalqk
                                                      Working Mom
                                                      #Selfmama. Life Hacks For a
44. https://www.youtube.com/watch?v=NVrwV0lv-Ao
                                                      Working Mom
                                                      #Selfmama. Life Hacks For a
45. https://www.youtube.com/watch?v=dVJBnoMsaFU
                                                      Working Mom
                                                      #Selfmama. Life Hacks For a
46. https://www.youtube.com/watch?v=Rsy_Nt_RIA4
                                                      Working Mom
                                                      #Selfmama. Life Hacks For a
47. https://www.youtube.com/watch?v=ij-Sig0gLvM
                                                      Working Mom
                                                      #Selfmama. Life Hacks For a
48. https://www.youtube.com/watch?v=zqUY-1EPoHQ
                                                      Working Mom
49. https://www.youtube.com/watch?v=lskMLDPaSW8       Nutty Buddha
50. https://www.youtube.com/watch?v=1msrqAnySo0       Nutty Buddha
51. https://www.youtube.com/watch?v=LoE42FIyj_k       Nutty Buddha
52. https://www.youtube.com/watch?v=b64kzcWDyMQ       Nutty Buddha
53. https://www.youtube.com/watch?v=XADInsjCzoA       Nutty Buddha
54. https://www.youtube.com/watch?v=XZi7xGavCQM       Nutty Buddha


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         Case 3:20-cv-04423-JD Document 248-21 Filed 02/13/23 Page 4 of 27




55. https://www.youtube.com/watch?v=2p0XwoMhD8w       Nutty Buddha
56. https://www.youtube.com/watch?v=qTY7kZ8IJr8       Nutty Buddha
57. https://www.youtube.com/watch?v=33XpsthqLh4       Zuleikha Opens Her Eyes
58. https://www.youtube.com/watch?v=35smRhWalRw       Zuleikha Opens Her Eyes
59. https://www.youtube.com/watch?v=6lobmEWKguY       Zuleikha Opens Her Eyes
60. https://www.youtube.com/watch?v=d8Kz7XgcnCE       Zuleikha Opens Her Eyes
61. https://www.youtube.com/watch?v=gkYeLPuyGDo       Zuleikha Opens Her Eyes
62. https://www.youtube.com/watch?v=GoKF13r7qmE       Zuleikha Opens Her Eyes
63. https://www.youtube.com/watch?v=kao2UyhpoFM       Zuleikha Opens Her Eyes
64. https://www.youtube.com/watch?v=KdJKA9fgypo       Zuleikha Opens Her Eyes
65. https://www.youtube.com/watch?v=KU6DnOzl-Wg       Zuleikha Opens Her Eyes
66. https://www.youtube.com/watch?v=KWxEjYfxoAM       Zuleikha Opens Her Eyes
67. https://www.youtube.com/watch?v=mFLyGEC-ngs       Zuleikha Opens Her Eyes
68. https://www.youtube.com/watch?v=pq_Hqvo4Axo       Zuleikha Opens Her Eyes
69. https://www.youtube.com/watch?v=rC601GLgrz8       Zuleikha Opens Her Eyes
70. https://www.youtube.com/watch?v=SJMcZCMqVHk       Zuleikha Opens Her Eyes
71. https://www.youtube.com/watch?v=TqEjXl073e8       Zuleikha Opens Her Eyes
72. https://www.youtube.com/watch?v=tvLepq93Ark       Zuleikha Opens Her Eyes
73. https://www.youtube.com/watch?v=Wm69143Kbks       Zuleikha Opens Her Eyes
74. https://www.youtube.com/watch?v=XXH7Q8WC5mI       Zuleikha Opens Her Eyes
75. https://www.youtube.com/watch?v=sIAqpHuMGC8       History of the Russian State
76. https://www.youtube.com/watch?v=bL28DPwwRMw       History of the Russian State
77. https://www.youtube.com/watch?v=UyqFMGjejp8       History of the Russian State
78. https://www.youtube.com/watch?v=xnq-0HWxOGg       History of the Russian State
79. https://www.youtube.com/watch?v=gDKB4WxsZRA       History of the Russian State
80. https://www.youtube.com/watch?v=vd5i2vGhnT8       History of the Russian State
81. https://www.youtube.com/watch?v=DQMpI47Ghaw       History of the Russian State
82. https://www.youtube.com/watch?v=Nb4vt4vL8f0       History of the Russian State
83. https://www.youtube.com/watch?v=E1kvzMGZkIw       History of the Russian State
84. https://www.youtube.com/watch?v=d5nyF8yIAsk       Children’s Book
85. https://www.youtube.com/watch?v=Ds4NAqcB1cY       Children’s Book
86. https://www.youtube.com/watch?v=_ZX78_3Ye44       Children’s Book


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         Case 3:20-cv-04423-JD Document 248-21 Filed 02/13/23 Page 5 of 27




87. https://www.youtube.com/watch?v=TaCVz7wGwQY       History of the Russian State
88. https://www.youtube.com/watch?v=M1tNkX-4HMM       History of the Russian State
89. https://www.youtube.com/watch?v=QUB6h8S8GTw       My Children
90. https://www.youtube.com/watch?v=cbONp7eg1s0       My Children
91. https://www.youtube.com/watch?v=t8ViX9BHntI       Nutty Buddha
92. https://www.youtube.com/watch?v=T4QgipiiMac       Nutty Buddha
93. https://www.youtube.com/watch?v=6CLQ5jNxask       Pelagia and the Red Rooster
94. https://www.youtube.com/watch?v=bKJ7-GCuq10       Pelagia and the Red Rooster
95. https://www.youtube.com/watch?v=XCdu4m6rS0Y       Zuleikha Opens Her Eyes
96. https://www.youtube.com/watch?v=IbmXmZcMJa4       Zuleikha Opens Her Eyes
97. https://www.youtube.com/watch?v=sXtnmw6N7AI       Zuleikha Opens Her Eyes
98. https://www.youtube.com/watch?v=nuTEfCbTamk       Zuleikha Opens Her Eyes
99. https://www.youtube.com/watch?v=L8TbuZZAEs4       Zuleikha Opens Her Eyes
100.   https://www.youtube.com/watch?v=KKkVxct5Vv0    Zuleikha Opens Her Eyes
101.   https://www.youtube.com/watch?v=Au7rAzGko-4    Zuleikha Opens Her Eyes
102.   https://www.youtube.com/watch?v=Q10PDhVM3FE    Zuleikha Opens Her Eyes
103.   https://www.youtube.com/watch?v=lAiGZTrbFO8    Zuleikha Opens Her Eyes
104.   https://www.youtube.com/watch?v=TmKHoVN2Uqo    Zuleikha Opens Her Eyes
105.   https://www.youtube.com/watch?v=YvJA7Vehyok    Zuleikha Opens Her Eyes
106.   https://www.youtube.com/watch?v=o4fiwAVZyYk    Zuleikha Opens Her Eyes
107.   https://www.youtube.com/watch?v=dX5V3juiUek    History of the Russian State
108.   https://www.youtube.com/watch?v=L-CW28GJLcU    History of the Russian State




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         Case 3:20-cv-04423-JD Document 248-21 Filed 02/13/23 Page 6 of 27




                                       Maria Schneider

1. https://www.youtube.com/watch?v=jxg8bkMVs80           A Potter's Song
2. https://www.youtube.com/watch?v=lMf9TEERK6I           A Potter's Song
3. https://www.youtube.com/watch?v=FSG_OyJFtMU           Alchemy
4. https://www.youtube.com/watch?v=0GijvVT8E44           Allegresse, Scenes from Childhood –
                                                         Bombshelter Beast, Scenes from Childhood -
                                                         Coming About, Scenes from Childhood -
                                                         Night Watchman, Sky Blue, Three Romances
                                                         - Danca Ilusoria
5. https://www.youtube.com/watch?v=nQeQ85rtV9M           Allegresse
6. https://www.youtube.com/watch?v=UHXxuBs0WaA           Allegresse
7. https://www.youtube.com/watch?v=uj4a4Ux8zu4           Allegresse
8. https://www.youtube.com/watch?v=wVD3i_Mz50Q           Allegresse
9. https://www.youtube.com/watch?v=-5a3Y8OWrqo           Anthem
10. https://www.youtube.com/watch?v=cH3X7gQ5zWs          Anthem
11. https://www.youtube.com/watch?v=sR-58-9Oxwg          Arbiters of Evolution
12. https://www.youtube.com/watch?v=CjoYXMyCt8U          Baytrail Shuffle
13. https://www.youtube.com/watch?v=-4yl6Ov8_F0          Bird Count
14. https://www.youtube.com/watch?v=fODO9S9lglQ          Bird Count
15. https://www.youtube.com/watch?v=IKWevLYtAyk          Bird Count
16. https://www.youtube.com/watch?v=iSqAT5APmp4          Bird Count
17. https://www.youtube.com/watch?v=IxFH6IVEvNQ          Bird Count
18. https://www.youtube.com/watch?v=JWDKANMITSs          Bird Count
19. https://www.youtube.com/watch?v=M7siWzTxA14          Bird Count
20. https://www.youtube.com/watch?v=n7CnP_OvIMc          Bird Count
21. https://www.youtube.com/watch?v=q9IfSdwK370          Bird Count
22. https://www.youtube.com/watch?v=RL5621vqvFo          Bird Count
23. https://www.youtube.com/watch?v=UMoWHeT4HMw          Bird Count
24. https://www.youtube.com/watch?v=VzfiwjiOYUw          Bird Count
25. https://www.youtube.com/watch?v=yLdk7XCx_70          Bird Count
26. https://www.youtube.com/watch?v=YPqHpp5wxeQ          Bird Count
27. https://www.youtube.com/watch?v=_BDD2aBzsk8          Buleria, Solea y Rumba



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         Case 3:20-cv-04423-JD Document 248-21 Filed 02/13/23 Page 7 of 27




28. https://www.youtube.com/watch?v=iRGzg-ojYYg       Buleria, Solea y Rumba
29. https://www.youtube.com/watch?v=SAHrFipBeIk       Buleria, Solea y Rumba
30. https://www.youtube.com/watch?v=e9PupT0kZdM       Cerulean Skies
31. https://www.youtube.com/watch?v=GZii89KY_j4       Cerulean Skies
32. https://www.youtube.com/watch?v=KCT92cxPINM       Cerulean Skies
33. https://www.youtube.com/watch?v=pkXY3453QwQ       Cerulean Skies
34. https://www.youtube.com/watch?v=WY-sorw_Vjo       Cerulean Skies
35. https://www.youtube.com/watch?v=9yb0F850Hpc       City Sunrise
36. https://www.youtube.com/watch?v=YA_SZ1aduWc       City Sunrise
37. https://www.youtube.com/watch?v=zIcCXKKqP74       City Sunrise
38. https://www.youtube.com/watch?v=0UgcuTp_6jI       Coot Stew
39. https://www.youtube.com/watch?v=8zev6y1HAmI       Coot Stew
40. https://www.youtube.com/watch?v=jwzEtZ-sAi8       Coot Stew
41. https://www.youtube.com/watch?v=YlCWsv4aLUw       Coot Stew
42. https://www.youtube.com/watch?v=_SGfAHecnD8       Dance, You Monster, To My Soft Song
43. https://www.youtube.com/watch?v=030Lk1mx6Bg       Dance, You Monster, To My Soft Song
44. https://www.youtube.com/watch?v=3c8w1uHS16s       Dance, You Monster, To My Soft Song
45. https://www.youtube.com/watch?v=5frCejRhNgU       Dance, You Monster, To My Soft Song
46. https://www.youtube.com/watch?v=79fq5NLGlJU       Dance, You Monster, To My Soft Song
47. https://www.youtube.com/watch?v=8fMy9xHsTIA       Dance, You Monster, To My Soft Song
48. https://www.youtube.com/watch?v=8SZA1uXQkIg       Dance, You Monster, To My Soft Song
49. https://www.youtube.com/watch?v=aMrTrzB6g9o       Dance, You Monster, To My Soft Song
50. https://www.youtube.com/watch?v=aWfIyLG-o2c       Dance, You Monster, To My Soft Song
51. https://www.youtube.com/watch?v=CsFd-3Ug-70       Dance, You Monster, To My Soft Song
52. https://www.youtube.com/watch?v=dTBSLAorDR4       Dance, You Monster, To My Soft Song
53. https://www.youtube.com/watch?v=gvGoetSAdvM       Dance, You Monster, To My Soft Song
54. https://www.youtube.com/watch?v=h8MSExWnPKE       Dance, You Monster, To My Soft Song
55. https://www.youtube.com/watch?v=IHn5If05-0s       Dance, You Monster, To My Soft Song
56. https://www.youtube.com/watch?v=iLUjozjowyA       Dance, You Monster, To My Soft Song
57. https://www.youtube.com/watch?v=lJBj95Yj5MM       Dance, You Monster, To My Soft Song
58. https://www.youtube.com/watch?v=nbp43Xm7H1U       Dance, You Monster, To My Soft Song
59. https://www.youtube.com/watch?v=ORzMQkYho-o       Dance, You Monster, To My Soft Song


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         Case 3:20-cv-04423-JD Document 248-21 Filed 02/13/23 Page 8 of 27




60. https://www.youtube.com/watch?v=S1Kj4AZAamw       Dance, You Monster, To My Soft Song
61. https://www.youtube.com/watch?v=TLM5LJH6og0       Dance, You Monster, To My Soft Song
62. https://www.youtube.com/watch?v=v8ewhUYPnTM       Dance, You Monster, To My Soft Song
63. https://www.youtube.com/watch?v=WkPfTjucN9Q       Dance, You Monster, To My Soft Song
64. https://www.youtube.com/watch?v=aqmDcOAUbfM       El Viento
65. https://www.youtube.com/watch?v=6H1EI2ivOQY       Evanescence, Hang Gliding, Journey Home,
                                                      Three Romances - Choro Dancado
66. https://www.youtube.com/watch?v=mYC8eqZl4pY       Evanescence
67. https://www.youtube.com/watch?v=NIrGXnXPNH0       Evanescence
68. https://www.youtube.com/watch?v=s34Oj_za7ZU       Evanescence
69. https://www.youtube.com/watch?v=YkF5s-AtQf0       Evanescence
70. https://www.youtube.com/watch?v=7H1Yddt2gbU       Green Piece
71. https://www.youtube.com/watch?v=AjmbD0f7YLU       Green Piece
72. https://www.youtube.com/watch?v=GmCPHZiqZ_4       Green Piece
73. https://www.youtube.com/watch?v=gv_kLThZUOc       Green Piece
74. https://www.youtube.com/watch?v=i8KHucjr4K0       Green Piece
75. https://www.youtube.com/watch?v=mUdwiI1Z9Lc       Green Piece
76. https://www.youtube.com/watch?v=o51Yk6n6aIw       Green Piece
77. https://www.youtube.com/watch?v=pJToOM-kkH0       Green Piece
78. https://www.youtube.com/watch?v=sECNlywWBSg       Green Piece, Last Season
79. https://www.youtube.com/watch?v=Y-fZtwJHG-4       Green Piece
80. https://www.youtube.com/watch?v=yWBRIu0mxPk       Green Piece
81. https://www.youtube.com/watch?v=_ayLOO4wZuM       Gumba Blue
82. https://www.youtube.com/watch?v=0MlnqV-_phA       Gumba Blue
83. https://www.youtube.com/watch?v=4icLu3ocQGs       Gumba Blue
84. https://www.youtube.com/watch?v=5J9WIsiePXs       Gumba Blue
85. https://www.youtube.com/watch?v=bj34mMJKXNE       Gumba Blue
86. https://www.youtube.com/watch?v=fpmbjtKJO_o       Gumba Blue
87. https://www.youtube.com/watch?v=h53bJkTiEAk       Gumba Blue
88. https://www.youtube.com/watch?v=hObvnnYGdPE       Gumba Blue
89. https://www.youtube.com/watch?v=VEHnMxYIU4Y       Gumba Blue
90. https://www.youtube.com/watch?v=YB72IE_6Hvs       Gumba Blue



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         Case 3:20-cv-04423-JD Document 248-21 Filed 02/13/23 Page 9 of 27




91. https://www.youtube.com/watch?v=i8qDiJpnYLk       Gush
92. https://www.youtube.com/watch?v=rj6eOPIb_tE       Gush
93. https://www.youtube.com/watch?v=1HOXysb3Qis       Hang Gliding
94. https://www.youtube.com/watch?v=2jKJNdGJpOA       Hang Gliding
95. https://www.youtube.com/watch?v=7ZWuOSwb-mg       Hang Gliding
96. https://www.youtube.com/watch?v=8PSMTRdQMg4       Hang Gliding
97. https://www.youtube.com/watch?v=aMwhevPdpoM       Hang Gliding
98. https://www.youtube.com/watch?v=BRv4M84WFCo       Hang Gliding
99. https://www.youtube.com/watch?v=d38FWexVIHk       Hang Gliding
100.   https://www.youtube.com/watch?v=dhxeIKZqskg    Hang Gliding
101.   https://www.youtube.com/watch?v=dxv5uH1i1A4    Hang Gliding
102.   https://www.youtube.com/watch?v=FjV1k4f4UzM    Hang Gliding
103.   https://www.youtube.com/watch?v=HrJjJukZoRU    Hang Gliding
104.   https://www.youtube.com/watch?v=iduI_77k25Y    Hang Gliding
105.   https://www.youtube.com/watch?v=JNbjrkRcWfU    Hang Gliding
106.   https://www.youtube.com/watch?v=N9S7OLW0Tzw    Hang Gliding
107.   https://www.youtube.com/watch?v=-NiutCd87HU    Hang Gliding
108.   https://www.youtube.com/watch?v=njbsZ2sevIs    Hang Gliding
109.   https://www.youtube.com/watch?v=NoKFS5MwUZQ    Hang Gliding
110.   https://www.youtube.com/watch?v=qNtRvI8aeas    Hang Gliding
111.   https://www.youtube.com/watch?v=t8paG3E0dsU    Hang Gliding
112.   https://www.youtube.com/watch?v=TIUAdc1ksYM    Hang Gliding
113.   https://www.youtube.com/watch?v=U_WTMCz-ejM    Hang Gliding
114.   https://www.youtube.com/watch?v=VcmuaXJfBuM    Hang Gliding
115.   https://www.youtube.com/watch?v=XiPyoyGEclY    Hang Gliding
116.   https://www.youtube.com/watch?v=ZXlaXbI0Eqg    Hang Gliding
117.   https://www.youtube.com/watch?v=iADcRHk9kr8    Home
118.   https://www.youtube.com/watch?v=U4O0cGrTGy0    Home
119.   https://www.youtube.com/watch?v=UDbfm95WcUk    In a Pinch
120.   https://www.youtube.com/watch?v=CiHIu-6hyXc    Journey Home
121.   https://www.youtube.com/watch?v=J84Rqbebgv8    Journey Home
122.   https://www.youtube.com/watch?v=JWMQo8Qx8a8    Journey Home


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        Case 3:20-cv-04423-JD Document 248-21 Filed 02/13/23 Page 10 of 27




123.   https://www.youtube.com/watch?v=lPkpTRqJRVQ   Journey Home
124.   https://www.youtube.com/watch?v=NaM-9uAmxIY   Journey Home
125.   https://www.youtube.com/watch?v=7re5xbgoDgU   Last Season
126.   https://www.youtube.com/watch?v=9k3f38sWzUI   Last Season
127.   https://www.youtube.com/watch?v=iaVlsqSPF-o   Last Season
128.   https://www.youtube.com/watch?v=Kxf9FCn0jUU   Last Season
129.   https://www.youtube.com/watch?v=N9gyv6Wr-ls   Last Season
130.   https://www.youtube.com/watch?v=QfhzwrFrZ5M   Last Season
131.   https://www.youtube.com/watch?v=SVqj0QJqSFA   Last Season
132.   https://www.youtube.com/watch?v=uapafgmFBvg   Last Season
133.   https://www.youtube.com/watch?v=CeZE2e1_qHg   Lately
134.   https://www.youtube.com/watch?v=2VgVIqCVVgQ   My Lament
135.   https://www.youtube.com/watch?v=f_8PFUposOU   My Lament
136.   https://www.youtube.com/watch?v=FYT6NSZRz0Q   My Lament
137.   https://www.youtube.com/watch?v=g1d73vwTWcc   My Lament
138.   https://www.youtube.com/watch?v=GV_AyY72oPs   My Lament
139.   https://www.youtube.com/watch?v=iUi0gxQL1C0   My Lament
140.   https://www.youtube.com/watch?v=k09S8ZdeuCg   My Lament
141.   https://www.youtube.com/watch?v=MfPoPwyfnd4   My Lament
142.   https://www.youtube.com/watch?v=qulI3eEjrgo   My Lament
143.   https://www.youtube.com/watch?v=s486ogPgw8w   My Lament
144.   https://www.youtube.com/watch?v=TDLniVjIdJ8   My Lament
145.   https://www.youtube.com/watch?v=WGOgXhqUOv0   Prairie Dance
146.   https://www.youtube.com/watch?v=0h32JZX-6mM   Rich's Piece
147.   https://www.youtube.com/watch?v=zXs2is9L_vU   Rich's Piece
148.   https://www.youtube.com/watch?v=33vXhTXfNEs   Scenes from Childhood - Bombshelter Beast
149.   https://www.youtube.com/watch?v=AFKVhjfB1B0   Scenes from Childhood - Bombshelter Beast
150.   https://www.youtube.com/watch?v=TCryn53_DKI   Scenes from Childhood - Bombshelter Beast
151.   https://www.youtube.com/watch?v=gxabL31wWCw   Scenes from Childhood - Coming About
152.   https://www.youtube.com/watch?v=J5PoSikRfS0   Scenes from Childhood - Coming About
153.   https://www.youtube.com/watch?v=XrKR5T8MPQQ   Scenes from Childhood - Coming About
154.   https://www.youtube.com/watch?v=ZfNjWC-J9dQ   Scenes from Childhood - Coming About


                                               9
        Case 3:20-cv-04423-JD Document 248-21 Filed 02/13/23 Page 11 of 27




155.   https://www.youtube.com/watch?v=DtGzhsHyXj8   Scenes from Childhood – Night Watchman
156.   https://www.youtube.com/watch?v=jUmxA2x8V_E   Scenes from Childhood - Night Watchman
157.   https://www.youtube.com/watch?v=lbZxZlahStA   Scenes from Childhood - Night Watchman
158.   https://www.youtube.com/watch?v=jhb_lJ3Spu4   Sea of Tranquility
159.   https://www.youtube.com/watch?v=3Ys_hXvxiuE   Sky Blue
160.   https://www.youtube.com/watch?v=6_meisQfQRM   Sky Blue
161.   https://www.youtube.com/watch?v=F_pBEtaI1c0   Sky Blue
162.   https://www.youtube.com/watch?v=FDeEkNhUpjo   Sky Blue
163.   https://www.youtube.com/watch?v=KvWMDjp9Ybo   Sky Blue
164.   https://www.youtube.com/watch?v=vsTiByu-ArU   Sky Blue
165.   https://www.youtube.com/watch?v=XDF3BwZYu-4   Sky Blue
166.   https://www.youtube.com/watch?v=xwpz4wAnEwo   Sky Blue
167.   https://www.youtube.com/watch?v=z0J0PKKBWGI   Sky Blue
168.   https://www.youtube.com/watch?v=2_6R2_ym0lU   Smooth Talk
169.   https://www.youtube.com/watch?v=2qhVGVAEkRk   Smooth Talk
170.   https://www.youtube.com/watch?v=iBLAvt3l8ho   Smooth Talk
171.   https://www.youtube.com/watch?v=mCcVbuqBK1Q   Smooth Talk
172.   https://www.youtube.com/watch?v=quTyHp4xIvc   Smooth Talk
173.   https://www.youtube.com/watch?v=t2-frNBx_zE   Smooth Talk
174.   https://www.youtube.com/watch?v=t3acqkK1GBI   Smooth Talk
175.   https://www.youtube.com/watch?v=TriQvMz-O8A   Smooth Talk
176.   https://www.youtube.com/watch?v=XiMEiJihyFg   Some Circles
177.   https://www.youtube.com/watch?v=_2oua7NKfGg   Sue (or In a Season of Crime)
178.   https://www.youtube.com/watch?v=1VdoNmXLkAI   Sue (or In a Season of Crime)
179.   https://www.youtube.com/watch?v=25Et0RP6gRo   Sue (or In a Season of Crime)
180.   https://www.youtube.com/watch?v=2v9x2XfOgaM   Sue (or In a Season of Crime)
181.   https://www.youtube.com/watch?v=4HrLqsZsP58   Sue (or In a Season of Crime)
182.   https://www.youtube.com/watch?v=4twPe-UVCHc   Sue (or In a Season of Crime)
183.   https://www.youtube.com/watch?v=5fodh5Ta_28   Sue (or In a Season of Crime)
184.   https://www.youtube.com/watch?v=67_ah73gu5w   Sue (or In a Season of Crime)
185.   https://www.youtube.com/watch?v=6uqz9NsI3xs   Sue (or In a Season of Crime)
186.   https://www.youtube.com/watch?v=AP5SsoIyX9c   Sue (or In a Season of Crime)


                                               10
        Case 3:20-cv-04423-JD Document 248-21 Filed 02/13/23 Page 12 of 27




187.   https://www.youtube.com/watch?v=B6j678cirAY   Sue (or In a Season of Crime)
188.   https://www.youtube.com/watch?v=Cb0GNvj5nyc   Sue (or In a Season of Crime)
189.   https://www.youtube.com/watch?v=cISctWSdJas   Sue (or In a Season of Crime)
190.   https://www.youtube.com/watch?v=D86p4q--QeI   Sue (or In a Season of Crime)
191.   https://www.youtube.com/watch?v=fxirdWpMThw   Sue (or In a Season of Crime)
192.   https://www.youtube.com/watch?v=GLASVeg6pIc   Sue (or In a Season of Crime)
193.   https://www.youtube.com/watch?v=HnLmJyk7Bx4   Sue (or In a Season of Crime)
194.   https://www.youtube.com/watch?v=hRTnFPqlHuk   Sue (or In a Season of Crime)
195.   https://www.youtube.com/watch?v=IMa7Gr4Ld0o   Sue (or In a Season of Crime)
196.   https://www.youtube.com/watch?v=jD-vgLXihXE   Sue (or In a Season of Crime)
197.   https://www.youtube.com/watch?v=nUu_09qw1qc   Sue (or In a Season of Crime)
198.   https://www.youtube.com/watch?v=p-AnkfK7RWw   Sue (or In a Season of Crime)
199.   https://www.youtube.com/watch?v=qju2iRvyZXQ   Sue (or In a Season of Crime)
200.   https://www.youtube.com/watch?v=SaygoLgAe4Y   Sue (or In a Season of Crime)
201.   https://www.youtube.com/watch?v=uia54xZZSJY   Sue (or In a Season of Crime)
202.   https://www.youtube.com/watch?v=VZxUYgbFzpA   Sue (or In a Season of Crime)
203.   https://www.youtube.com/watch?v=woro0S6ROBw   Sue (or In a Season of Crime)
204.   https://www.youtube.com/watch?v=y5kqSWyhsfw   Sue (or In a Season of Crime)
205.   https://www.youtube.com/watch?v=QeuWiDIDEC8   Swing Street
206.   https://www.youtube.com/watch?v=pptZGOshusY   The Grail
207.   https://www.youtube.com/watch?v=N_6g6aR9JiQ   The Monarch and the Milkweed
208.   https://www.youtube.com/watch?v=2GcpEgKR7pk   The Pretty Road
209.   https://www.youtube.com/watch?v=38cSEMHyIWM   The Pretty Road
210.   https://www.youtube.com/watch?v=4Buslj1AsNg   The Pretty Road
211.   https://www.youtube.com/watch?v=55-Mnur8hcQ   The Pretty Road
212.   https://www.youtube.com/watch?v=9tKujw5RmIo   The Pretty Road
213.   https://www.youtube.com/watch?v=i5KJqXZzTuQ   The Pretty Road
214.   https://www.youtube.com/watch?v=o7is3iGyF8Q   The Pretty Road
215.   https://www.youtube.com/watch?v=tDqHVuO7r_U   The Pretty Road
216.   https://www.youtube.com/watch?v=unu5RGsToeI   The Pretty Road
217.   https://www.youtube.com/watch?v=WTTY5d9yi3U   The Pretty Road
218.   https://www.youtube.com/watch?v=XZnXIqso7fU   The Pretty Road


                                               11
        Case 3:20-cv-04423-JD Document 248-21 Filed 02/13/23 Page 13 of 27




219.   https://www.youtube.com/watch?v=zPuwf3rGuVM   The Pretty Road
220.   https://www.youtube.com/watch?v=38BhcPm0Kj4   The Thompson Fields
221.   https://www.youtube.com/watch?v=O77kEGL_5Ag   The Thompson Fields
222.   https://www.youtube.com/watch?v=rG3Jvg0T-6I   The Thompson Fields
223.   https://www.youtube.com/watch?v=TjOJhSziHYU   The Thompson Fields
224.   https://www.youtube.com/watch?v=WLePiLr63do   The Thompson Fields
225.   https://www.youtube.com/watch?v=4jQEbX0PJ0E   Three Romances - Choro Dancado
226.   https://www.youtube.com/watch?v=4tzCZ5jHMtA   Three Romances - Choro Dancado
227.   https://www.youtube.com/watch?v=5z3qs6qNAg4   Three Romances - Choro Dancado
228.   https://www.youtube.com/watch?v=BBPiMzlGxRU   Three Romances - Choro Dancado
229.   https://www.youtube.com/watch?v=bWzNqEHLww8   Three Romances - Choro Dancado
230.   https://www.youtube.com/watch?v=gOi2s3gX584   Three Romances - Choro Dancado
231.   https://www.youtube.com/watch?v=Hxe1Km0vo5g   Three Romances - Choro Dancado
232.   https://www.youtube.com/watch?v=IGDGYxTfEMk   Three Romances - Choro Dancado
233.   https://www.youtube.com/watch?v=K37Ek9WJPGY   Three Romances - Choro Dancado
234.   https://www.youtube.com/watch?v=npB1ayZJbHg   Three Romances - Choro Dancado
235.   https://www.youtube.com/watch?v=o_LKmI01p3Y   Three Romances - Choro Dancado
236.   https://www.youtube.com/watch?v=OjovWaymKk0   Three Romances - Choro Dancado
237.   https://www.youtube.com/watch?v=OQbUmCasz2s   Three Romances - Choro Dancado
238.   https://www.youtube.com/watch?v=psVsKCONJSA   Three Romances - Choro Dancado
239.   https://www.youtube.com/watch?v=uFP3TMiRi58   Three Romances - Choro Dancado
240.   https://www.youtube.com/watch?v=U-ifGyDrtuE   Three Romances - Choro Dancado
241.   https://www.youtube.com/watch?v=yiu1NcalCMs   Three Romances - Choro Dancado
242.   https://www.youtube.com/watch?v=ZffGvuvWwBk   Three Romances - Choro Dancado
243.   https://www.youtube.com/watch?v=532OX4c1he8   Three Romances - Danca Ilusoria
244.   https://www.youtube.com/watch?v=Ebck2BssRx0   Three Romances - Danca Ilusoria
245.   https://www.youtube.com/watch?v=JnvZ5YqCmkA   Three Romances - Danca Ilusoria
246.   https://www.youtube.com/watch?v=0R-9t73KfiM   Three Romances - Pas de Deux
247.   https://www.youtube.com/watch?v=WhbQ7JYy6Tc   Three Romances - Pas de Deux
248.   https://www.youtube.com/watch?v=trDIrMJIqV4   Tork's Café
249.   https://www.youtube.com/watch?v=1EEkdOrB_Ko   Walking by Flashlight
250.   https://www.youtube.com/watch?v=AMSGBeNFRk0   Walking by Flashlight


                                               12
        Case 3:20-cv-04423-JD Document 248-21 Filed 02/13/23 Page 14 of 27




251.   https://www.youtube.com/watch?v=qRQ-1Ze0KbU   Walking by Flashlight
252.   https://www.youtube.com/watch?v=tYPU7t-hfKo   Walking by Flashlight
253.   https://www.youtube.com/watch?v=w4LrrKTMfN0   Winter Morning Walks (full song cycle)
254.   https://www.youtube.com/watch?v=_2UqFk6mjvs   Wyrgly
255.   https://www.youtube.com/watch?v=0zEMThwa9-c   Wyrgly
256.   https://www.youtube.com/watch?v=7S-13Kkfu0k   Wyrgly
257.   https://www.youtube.com/watch?v=aOXIpwzAO9Q   Wyrgly
258.   https://www.youtube.com/watch?v=EpmJwSU0VsI   Wyrgly
259.   https://www.youtube.com/watch?v=EtA6n9JpzLA   Wyrgly
260.   https://www.youtube.com/watch?v=Fdsytt_obpU   Wyrgly
261.   https://www.youtube.com/watch?v=fxrSAv3JRNM   Wyrgly
262.   https://www.youtube.com/watch?v=G12e3KguIM8   Wyrgly
263.   https://www.youtube.com/watch?v=iRxT0gwW1FM   Wyrgly
264.   https://www.youtube.com/watch?v=IzDMxODgna0   Wyrgly
265.   https://www.youtube.com/watch?v=JEHlGQrBoQk   Wyrgly
266.   https://www.youtube.com/watch?v=JPasUzKkp2E   Wyrgly
267.   https://www.youtube.com/watch?v=kccYhY-OTXM   Wyrgly
268.   https://www.youtube.com/watch?v=o_xc_ycxi0M   Wyrgly
269.   https://www.youtube.com/watch?v=oArWYN0zX4M   Wyrgly
270.   https://www.youtube.com/watch?v=OvJO2dyroow   Wyrgly
271.   https://www.youtube.com/watch?v=pFnVIQVf5rA   Wyrgly
272.   https://www.youtube.com/watch?v=sP_RyLdK2uE   Wyrgly
273.   https://www.youtube.com/watch?v=TXeBgcbZqFA   Wyrgly
274.   https://www.youtube.com/watch?v=VzDpxQIjJ6A   Wyrgly
275.   https://www.youtube.com/watch?v=ZgSlFkdISL4   Wyrgly
276.   https://www.youtube.com/watch?v=zjKng4A35y8   Wyrgly
277.   https://www.youtube.com/watch?v=ZKrgshAOxvo   Wyrgly
278.   https://www.youtube.com/watch?v=-VV3QuF8Ajw   Allegresse
279.   https://www.youtube.com/watch?v=f7XoyThF9cs   Green Piece
280.   https://www.youtube.com/watch?v=jYDwvSjoB9c   Gush
281.   https://www.youtube.com/watch?v=2x_nXDQv-t4   Three Romances - Choro Dancado
282.   https://www.youtube.com/watch?v=Hcc054DjdLY   Hang Gliding


                                               13
        Case 3:20-cv-04423-JD Document 248-21 Filed 02/13/23 Page 15 of 27




283.   https://www.youtube.com/watch?v=O28Y6pwbA-Q   Hang Gliding
284.   https://www.youtube.com/watch?v=OSab1Crbf_U   Hang Gliding
285.   https://www.youtube.com/watch?v=VWxY2Suh5QY   Hang Gliding
286.   https://www.youtube.com/watch?v=zIrDYcrxaqo   Journey Home
287.   https://www.youtube.com/watch?v=yH7JUS8TY1M   My Lament
288.   https://www.youtube.com/watch?v=9ZZf2_XX4Lk   Scenes from Childhood - Coming About
289.   https://www.youtube.com/watch?v=V1km88MConA   Scenes from Childhood - Coming About
290.   https://www.youtube.com/watch?v=7m6E03fTdW8   Sea of Tranquility
291.   https://www.youtube.com/watch?v=3eA2lvKjIxw   Sky Blue
292.   https://www.youtube.com/watch?v=9XNvAuxKteY   Sky Blue
293.   https://www.youtube.com/watch?v=eE5-7xbKQ-Y   Sky Blue
294.   https://www.youtube.com/watch?v=La9ElPIumhQ   Sky Blue
295.   https://www.youtube.com/watch?v=QxzukFO9U3I   Sky Blue
296.   https://www.youtube.com/watch?v=31dLG9GfJ-c   Sue (or In a Season of Crime)
297.   https://www.youtube.com/watch?v=BPAvQ5jG7M0   Sue (or In a Season of Crime)
298.   https://www.youtube.com/watch?v=Gp0iEfxztCU   Sue (or In a Season of Crime)
299.   https://www.youtube.com/watch?v=8KKwsPvf1rE   The Pretty Road
300.   https://www.youtube.com/watch?v=dSFaHPfONcI   The Pretty Road
301.   https://www.youtube.com/watch?v=qDg8ZmbESmE   The Pretty Road
302.   https://www.youtube.com/watch?v=-1tu8dI_y_4   Three Romances - Choro Dancado
303.   https://www.youtube.com/watch?v=bs51YXRbzyw   Three Romances - Choro Dancado
304.   https://www.youtube.com/watch?v=GrH2QuK5y1c   Three Romances - Choro Dancado
305.   https://www.youtube.com/watch?v=0vK_cW477N0   Three Romances - Danca Ilusoria
306.   https://www.youtube.com/watch?v=2wUkhTsAC0M   Three Romances - Danca Ilusoria
307.   https://www.youtube.com/watch?v=DvcZVunjd9M   Walking by Flashlight
308.   https://www.youtube.com/watch?v=VX3G65NVu1g   Walking by Flashlight
309.   http://www.youtube.com/watch?v=e04yCOqalv8    Concert in the Garden
310.   http://www.youtube.com/watch?v=mRlj6wqzW74    Evanescence
311.   http://www.youtube.com/watch?v=M-DlDYGAExs    Three Romances - Choro Dancado
312.   http://www.youtube.com/watch?v=FQq7XkFC0Do    Last Season
313.   http://www.youtube.com/watch?v=ASN9OqlqIXU    Journey Home
314.   http://www.youtube.com/watch?v=YIwyHj2Cn_Q    Buleria, Solea y Rumba


                                              14
        Case 3:20-cv-04423-JD Document 248-21 Filed 02/13/23 Page 16 of 27




315.   http://www.youtube.com/watch?v=NML2WgRpVRc    Buleria, Solea y Rumba
316.   http://www.youtube.com/watch?v=I9jiYSUhcPQ    Three Romances - Choro Dancado, Three
                                                     Romances - Pas de Deux
317.   http://www.youtube.com/watch?v=i8UlsGKsZM4    Three Romances - Pas de Deux
318.   http://www.youtube.com/watch?v=5oYGhrUETFc    El Viento
319.   http://www.youtube.com/watch?v=fc8kek2xGUc    El Viento
320.   http://www.youtube.com/watch?v=i8BC-LH-IMg    Green Piece
321.   http://www.youtube.com/watch?v=7jfjtKRDFQI    Hang Gliding
322.   http://www.youtube.com/watch?v=htmgVKwSpMg    Lately
323.   http://www.youtube.com/watch?v=L0cMR-x8ufo    Sea of Tranquility
324.   https://www.youtube.com/watch?v=Z9N68OSIqps   Gumba Blue
325.   https://www.youtube.com/watch?v=RX6OLGPCsFc   Journey Home
326.   http://www.youtube.com/watch?v=2_YT4SvCPeo    Hang Gliding
327.   https://www.youtube.com/watch?v=wdIW_AoTi_4   Hang Gliding
328.   http://www.youtube.com/watch?v=2tJegYsmlqU    Three Romances - Choro Dancado
329.   http://www.youtube.com/watch?v=AlJ6K1x9WIw    Concert in the Garden
330.   http://www.youtube.com/watch?v=TPKsQoQdtB     Nocturne
331.   http://www.youtube.com/watch?v=bjuli8HHcYo    Three Romances - Danca Ilusoria
332.   http://www.youtube.com/watch?v=RiGKxmxq3Qk    Scenes from Childhood - Coming About
333.   https://www.youtube.com/watch?v=nSk8IMTU5TE   Gush
334.   http://www.youtube.com/watch?v=Ft3wa0bMAmE    Gumba Blue
335.   http://www.youtube.com/watch?v=oZgAVwfcUY0    Wyrgly
336.   http://www.youtube.com/watch?v=MZM5ekpurvA    Journey Home, Three Romances - Choro
                                                     Dancado, Evanescence, Hang Gliding
337.   http://www.youtube.com/watch?v=NJy_RXOgsts    Sky Blue
338.   http://www.youtube.com/watch?v=AH3obBV5sEw    The Pretty Road
339.   http://www.youtube.com/watch?v=T-p1kPrYN_8    The Pretty Road
340.   http://www.youtube.com/watch?v=EAJPUC0mgJ8    The Pretty Road
341.   http://www.youtube.com/watch?v=n6U7zQLKe04    Cerulean Skies
342.   http://www.youtube.com/watch?v=JERfM3g0FnM    Cerulean Skies
343.   http://www.youtube.com/watch?v=wmAzXaz_UaY    Cerulean Skies
344.   http://www.youtube.com/watch?v=CVelapFHlP0    Aires de Lando
345.   https://www.youtube.com/watch?v=C3FD5pG3RMc   Arbiters of Evolution

                                               15
        Case 3:20-cv-04423-JD Document 248-21 Filed 02/13/23 Page 17 of 27




346.   https://www.youtube.com/watch?v=Z8cdqri2-r8   The Thompson Fields
347.   http://www.youtube.com/watch?v=EaY_KMBoJ3g    The Thompson Fields
348.   http://www.youtube.com/watch?v=o4rYUveHBZM    Walking by Flashlight
349.   http://www.youtube.com/watch?v=jPEFzfWrXHg    The Thompson Fields
350.   http://www.youtube.com/watch?v=P470eEhealc    Walking by Flashlight
351.   http://www.youtube.com/watch?v=lICbkKWrf-I    Walking by Flashlight
352.   https://www.youtube.com/watch?v=mp3jyAIpXQM   Hang Gliding
353.   https://www.youtube.com/watch?v=sbG16CKO-pg   Hang Gliding
354.   https://www.youtube.com/watch?v=lu1Fc-QHRCE   Journey Home
355.   https://www.youtube.com/watch?v=3VCTGDzX3NA   Journey Home
356.   https://www.youtube.com/watch?v=Nz34XjhDz1s   Last Season
357.   https://www.youtube.com/watch?v=WEshwjP8Ufs   Bird Count
358.   https://www.youtube.com/watch?v=Fc7KMjwkILU   Journey Home
359.   https://www.youtube.com/watch?v=-OJhKtRElVo   Wyrgly
360.   https://www.youtube.com/watch?v=AtLA61JEgZM   The Pretty Road
361.   https://www.youtube.com/watch?v=W1nLFgAJPvo   Bird Count
362.   https://www.youtube.com/watch?v=ma5knwpEeoM   Bluebird
363.   https://www.youtube.com/watch?v=ACexzWlPmSo   Wyrgly
364.   https://www.youtube.com/watch?v=7jLKBpjSfn8   Walking By Flashlight
365.   https://www.youtube.com/watch?v=3AaULOxaclo   Dance, You Monster, To My Soft Song
366.   https://www.youtube.com/watch?v=nSqEquabd3w   Walking By Flashlight
367.   https://www.youtube.com/watch?v=3bLI5RHSudc   Dance, You Monster, To My Soft Song
368.   https://www.youtube.com/watch?v=3dLbL_N04Vo   Hang Gliding
369.   https://www.youtube.com/watch?v=ZPrZ4Z1YDeA   Braided Together
370.   https://www.youtube.com/watch?v=3PiISnUqj3s   Three Romances - Danca Ilusoria
371.   https://www.youtube.com/watch?v=kehRDLo-_P4   Data Lords
372.   https://www.youtube.com/watch?v=BHZjjhok-UM   Gumba Blue
373.   https://www.youtube.com/watch?v=ooZkHLf07ng   Scenes from Childhood - Coming About
                                                     Look Up, Don't Be Evil, Gumba Blue,
374.   https://www.youtube.com/watch?v=yYNU0hn6PkM   Sputnik, Data Lords, Bluebird
375.   https://www.youtube.com/watch?v=fkJ98A8gJ7k   Wyrgly
376.   https://www.youtube.com/watch?v=CMNM8QgiMGA   Three Romances - Choro Dancado



                                               16
        Case 3:20-cv-04423-JD Document 248-21 Filed 02/13/23 Page 18 of 27




377.   https://www.youtube.com/watch?v=FYyKploAjGA   Dance, You Monster, To My Soft Song
378.   https://www.youtube.com/watch?v=noOCWwfe44E   Scenes from Childhood - Coming About
379.   https://www.youtube.com/watch?v=6UZdlk5mIwc   A Potter’s Song
380.   https://www.youtube.com/watch?v=2Rl1MhhpbyM   The Monarch and the Milkweed
381.   https://www.youtube.com/watch?v=k7BWXiMYJdE   Dance, You Monster, To My Soft Song




                                              17
        Case 3:20-cv-04423-JD Document 248-21 Filed 02/13/23 Page 19 of 27




                                 Uniglobe Entertainment, LLC

1. https://www.youtube.com/watch?v=ndnf4uazkMc         5 Weddings
2. https://www.youtube.com/watch?v=xQeQIAOmljI         5 Weddings
3. https://www.youtube.com/watch?v=9rlTLrrs45I         5 Weddings
4. https://www.youtube.com/watch?v=0WsA_bFZLO4         5 Weddings
5. https://www.youtube.com/watch?v=tTuz9adnJnc         5 Weddings
6. https://www.youtube.com/watch?v=G4pdGR8_Wak         5 Weddings
7. https://www.youtube.com/watch?v=EbdBkfVWoyQ         5 Weddings
8. https://www.youtube.com/watch?v=XYmVVIRAexE         5 Weddings
9. https://www.youtube.com/watch?v=GZGFjHFasm0         5 Weddings
10. https://www.youtube.com/watch?v=9a6CVS_E4g4        5 Weddings
11. https://www.youtube.com/watch?v=P-LG7yQvJgw        5 Weddings
12. https://www.youtube.com/watch?v=s72M75ERAsw        5 Weddings
13. https://www.youtube.com/watch?v=MN5sdy2-9gw        5 Weddings
14. https://www.youtube.com/watch?v=tAd9eNlofow        5 Weddings
15. https://www.youtube.com/watch?v=j_d8aMfGLpU        5 Weddings
16. https://www.youtube.com/watch?v=XWS_9m1Q9zs        5 Weddings
17. https://www.youtube.com/watch?v=rQ30pij0aTI        5 Weddings
18. https://www.youtube.com/watch?v=tUXokpUDowo        5 Weddings
19. https://www.youtube.com/watch?v=2khBi6eF_Ug        5 Weddings
20. https://www.youtube.com/watch?v=v7DimtzJJfU        5 Weddings
21. https://www.youtube.com/watch?v=T4EVgNJPzSs        5 Weddings
22. https://www.youtube.com/watch?v=4VDRBBaAHBA        5 Weddings
23. https://www.youtube.com/watch?v=CHk7CXt18Qk        5 Weddings
24. https://www.youtube.com/watch?v=CTsgYx5jzLE        5 Weddings
25. https://www.youtube.com/watch?v=JXPnx9ecRB8        5 Weddings
26. https://www.youtube.com/watch?v=eZsFcEZKFnY        5 Weddings
27. https://www.youtube.com/watch?v=gYoO4kvPXb8        5 Weddings
28. https://www.youtube.com/watch?v=hBw1CZuhaI8        5 Weddings
29. https://www.youtube.com/watch?v=oDPRNnKOvMU        5 Weddings
30. https://www.youtube.com/watch?v=vrR1SHFuaCU        5 Weddings


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31. https://www.youtube.com/watch?v=z1ZRXMhdiso        5 Weddings
32. https://www.youtube.com/watch?v=1QKR4BAnryw        5 Weddings
33. https://www.youtube.com/watch?v=LhbV4q_7rZc        5 Weddings
34. https://www.youtube.com/watch?v=lTjsYzthw2w        5 Weddings
35. https://www.youtube.com/watch?v=93k3t0ucRcc        5 Weddings
36. https://www.youtube.com/watch?v=MWhApYbq-Ws        5 Weddings
37. https://www.youtube.com/watch?v=oALeGrzzWyM        5 Weddings
38. https://www.youtube.com/watch?v=AqYVJVtBEmE        5 Weddings
39. https://www.youtube.com/watch?v=Z6uHMoQDBUY        5 Weddings
40. https://www.youtube.com/watch?v=qqLkprJAbS0        5 Weddings
41. https://www.youtube.com/watch?v=6sxpn9Fkask        5 Weddings
42. https://www.youtube.com/watch?v=gIMD4lDOqZo        5 Weddings
43. https://www.youtube.com/watch?v=Q8GtDJHRrT0        5 Weddings
44. https://www.youtube.com/watch?v=WueYfxt7pyE        5 Weddings
45. https://www.youtube.com/watch?v=B-rXUIOvqGQ        5 Weddings
46. https://www.youtube.com/watch?v=6YRVFCgkO4Q        5 Weddings
47. https://www.youtube.com/watch?v=GcQXh2Vitj4        5 Weddings
48. https://www.youtube.com/watch?v=TcyRstsn4Yc        5 Weddings
49. https://www.youtube.com/watch?v=uzJmxe5-JLM        5 Weddings
50. https://www.youtube.com/watch?v=I4zDTeVAFhQ        5 Weddings
51. https://www.youtube.com/watch?v=Bp0uDowHfeU        5 Weddings
52. https://www.youtube.com/watch?v=ytexvuWvepg        5 Weddings
53. https://www.youtube.com/watch?v=kACIRWOWyos        5 Weddings
54. https://www.youtube.com/watch?v=fdV22iNAuec        5 Weddings
55. https://www.youtube.com/watch?v=RDClE8d7syc        5 Weddings
56. https://www.youtube.com/watch?v=A-rlPjn9pUk        5 Weddings
57. https://www.youtube.com/watch?v=w-HJMv_Rq9A        5 Weddings
58. https://www.youtube.com/watch?v=FOA0B1HZSbM        5 Weddings
59. https://www.youtube.com/watch?v=3ZxmoYJNuhU        5 Weddings
60. https://www.youtube.com/watch?v=BXxcVepqpB4        5 Weddings
61. https://www.youtube.com/watch?v=Lp0x4_i5D9E        5 Weddings
62. https://www.youtube.com/watch?v=oIqgCz27Uj8        5 Weddings


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         Case 3:20-cv-04423-JD Document 248-21 Filed 02/13/23 Page 21 of 27




63. https://www.youtube.com/watch?v=d-WLjvFFsmc        5 Weddings
64. https://www.youtube.com/watch?v=MxuGM1VIb78        5 Weddings
65. https://www.youtube.com/watch?v=LYaqRxoTnCU        5 Weddings
66. https://www.youtube.com/watch?v=XDQW9NJbsBY        5 Weddings
67. https://www.youtube.com/watch?v=dWA5YLpPWps        5 Weddings
68. https://www.youtube.com/watch?v=e0qH3HheDOQ        5 Weddings
69. https://www.youtube.com/watch?v=kSqyW1id1BY        5 Weddings
70. https://www.youtube.com/watch?v=TSZYjt13aK0        5 Weddings
71. https://www.youtube.com/watch?v=kMYGXoz-nqM        5 Weddings
72. https://www.youtube.com/watch?v=wuhLfQMg73E        5 Weddings
73. https://www.youtube.com/watch?v=J2C52oL0_VQ        5 Weddings
74. https://www.youtube.com/watch?v=syOC1jb4Zkg        5 Weddings
75. https://www.youtube.com/watch?v=Tbo_ehNC8Dc        5 Weddings
76. https://www.youtube.com/watch?v=Oy5pIXGaCqA        5 Weddings
77. https://www.youtube.com/watch?v=jfWXu8M4LN4        5 Weddings
78. https://www.youtube.com/watch?v=rvc_Wgtrlqw        5 Weddings
79. https://www.youtube.com/watch?v=wXVW0aRrQb0        5 Weddings
80. https://www.youtube.com/watch?v=0gftlOVKlJ0        5 Weddings
81. https://www.youtube.com/watch?v=qG7SWm3fkbY        5 Weddings
82. https://www.youtube.com/watch?v=LnFeC79Bj1s        5 Weddings
83. https://www.youtube.com/watch?v=gJkR4bMBusQ        5 Weddings
84. https://www.youtube.com/watch?v=32ndTa1ayjM        5 Weddings
85. https://www.youtube.com/watch?v=qnH5Yhv2eF8        5 Weddings
86. https://www.youtube.com/watch?v=hJrud5AzEFc        5 Weddings
87. https://www.youtube.com/watch?v=SOdfCcN7Dq0        5 Weddings
88. https://www.youtube.com/watch?v=U5SM5EVUuRA        5 Weddings
89. https://www.youtube.com/watch?v=oMCD2RHLiBE        5 Weddings
90. https://www.youtube.com/watch?v=Hrr0rwe9G3w        5 Weddings
91. https://www.youtube.com/watch?v=hwlagGDDpRM        5 Weddings
92. https://www.youtube.com/watch?v=ZSMIRn6GRD0        5 Weddings
93. https://www.youtube.com/watch?v=x1v6lDWe1vM        5 Weddings
94. https://www.youtube.com/watch?v=b-cBFyifxyc        5 Weddings


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        Case 3:20-cv-04423-JD Document 248-21 Filed 02/13/23 Page 22 of 27




95. https://www.youtube.com/watch?v=LGxUeTMR34U      5 Weddings
96. https://www.youtube.com/watch?v=Cb1v7EkCFEc      5 Weddings
97. https://www.youtube.com/watch?v=l7jmPPl4qyA      5 Weddings
98. https://www.youtube.com/watch?v=aik4jM9eaY4      5 Weddings
99. https://www.youtube.com/watch?v=VHeQVjyW_I       5 Weddings
100.   https://www.youtube.com/watch?v=p19Ae3hwAec   5 Weddings
101.   https://www.youtube.com/watch?v=ACGcIKzs7ug   5 Weddings
102.   https://www.youtube.com/watch?v=IFIbUFI_vGc   5 Weddings
103.   https://www.youtube.com/watch?v=shkrzacGaDs   5 Weddings
104.   https://www.youtube.com/watch?v=KS9N7SBksGo   5 Weddings
105.   https://www.youtube.com/watch?v=F5lwMz1UidI   5 Weddings
106.   https://www.youtube.com/watch?v=vtMuFUvZIKQ   5 Weddings
107.   https://www.youtube.com/watch?v=cD7Viy3-CEY   5 Weddings
108.   https://www.youtube.com/watch?v=PTTZnwpVfz4   5 Weddings
109.   https://www.youtube.com/watch?v=94eQcOGqoNM   5 Weddings
110.   https://www.youtube.com/watch?v=g5tiRP4bNFM   5 Weddings
111.   https://www.youtube.com/watch?v=dPPAqTXNCxc   5 Weddings
112.   https://www.youtube.com/watch?v=GcKMGxPNuTQ   5 Weddings
113.   https://www.youtube.com/watch?v=r7M0RmCdduY   5 Weddings
114.   https://www.youtube.com/watch?v=avTTfVjSmnc   5 Weddings
115.   https://www.youtube.com/watch?v=rhCUB4_uYPE   5 Weddings
116.   https://www.youtube.com/watch?v=kcwfoLeT7ew   5 Weddings
117.   https://www.youtube.com/watch?v=BLtb2l_8AcU   5 Weddings
118.   https://www.youtube.com/watch?v=dX3XtRaJaeQ   5 Weddings
119.   https://www.youtube.com/watch?v=WOKr8T11loM   5 Weddings
120.   https://www.youtube.com/watch?v=jqIvOZbNdLg   5 Weddings
121.   https://www.youtube.com/watch?v=Wgl8JS78KeA   5 Weddings
122.   https://www.youtube.com/watch?v=jtx2h_n6190   5 Weddings
123.   https://www.youtube.com/watch?v=M08Luko8qOY   5 Weddings
124.   https://www.youtube.com/watch?v=UySr1ParwZQ   5 Weddings
125.   https://www.youtube.com/watch?v=_MFM4O1mVhI   5 Weddings
126.   https://www.youtube.com/watch?v=nU1Uiuou8YU   5 Weddings


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        Case 3:20-cv-04423-JD Document 248-21 Filed 02/13/23 Page 23 of 27




127.   https://www.youtube.com/watch?v=rHRl1KwFD-U   5 Weddings
128.   https://www.youtube.com/watch?v=nmVqnyfatDc   5 Weddings
129.   https://www.youtube.com/watch?v=6AAFWzIG-bU   5 Weddings
130.   https://www.youtube.com/watch?v=cqk6blF2BbQ   5 Weddings
131.   https://www.youtube.com/watch?v=eCypwSPjTTM   5 Weddings
132.   https://www.youtube.com/watch?v=pzrf9aKkt4c   5 Weddings
133.   https://www.youtube.com/watch?v=PESDkngpq28   5 Weddings
134.   https://www.youtube.com/watch?v=5BwcXqK59T4   5 Weddings
135.   https://www.youtube.com/watch?v=4O4HbOk67ew   5 Weddings
136.   https://www.youtube.com/watch?v=MdvKsrhUZjk   5 Weddings
137.   https://www.youtube.com/watch?v=neTjKw5I5NY   5 Weddings
138.   https://www.youtube.com/watch?v=Da5pche-VRU   5 Weddings
139.   https://www.youtube.com/watch?v=GahnH3SEL4Y   5 Weddings
140.   https://www.youtube.com/watch?v=5jo856X3xrc   5 Weddings
141.   https://www.youtube.com/watch?v=Q9i_M85aq8o   5 Weddings
142.   https://www.youtube.com/watch?v=0kp4-jQ-eAI   5 Weddings
143.   https://www.youtube.com/watch?v=LwwzyKYsUvg   5 Weddings
144.   https://www.youtube.com/watch?v=3UqGmLF0EK4   5 Weddings
145.   https://www.youtube.com/watch?v=XOa49qklHxg   5 Weddings
146.   https://www.youtube.com/watch?v=0DJ_kmmTsak   5 Weddings
147.   https://www.youtube.com/watch?v=PtKuQ97e1BA   5 Weddings
148.   https://www.youtube.com/watch?v=y528NN6C3eg   5 Weddings
149.   https://www.youtube.com/watch?v=co0rhNhuM9A   5 Weddings
150.   https://www.youtube.com/watch?v=EMxlJuW6dps   5 Weddings
151.   https://www.youtube.com/watch?v=7o5UhhW_2XM   5 Weddings
152.   https://www.youtube.com/watch?v=7Oy7RKzE0TU   5 Weddings
153.   https://www.youtube.com/watch?v=YXWFYPk11GM   5 Weddings
154.   https://www.youtube.com/watch?v=gEjglbGEvEE   5 Weddings
155.   https://www.youtube.com/watch?v=CRVl4Yk43Uc   5 Weddings
156.   https://www.youtube.com/watch?v=wsFG-0Vty_w   Americanizing Shelley
157.   https://www.youtube.com/watch?v=O61nlXAOJRU   Americanizing Shelley
158.   https://www.youtube.com/watch?v=g7TeGRwEhts   Americanizing Shelley


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        Case 3:20-cv-04423-JD Document 248-21 Filed 02/13/23 Page 24 of 27




159.   https://www.youtube.com/watch?v=NAN9enJCRTs   Americanizing Shelley
160.   https://www.youtube.com/watch?v=n8u_eLJJEVw   Americanizing Shelley
161.   https://www.youtube.com/watch?v=eE_zrpIc7KY   Americanizing Shelley
162.   https://www.youtube.com/watch?v=zxlXKaZIOXc   5 Weddings
163.   https://www.youtube.com/watch?v=c6g7dDRfPNg   5 Weddings
164.   https://www.youtube.com/watch?v=RypcZRESN6g   5 Weddings
165.   https://www.youtube.com/watch?v=nYAitmKpI-0   5 Weddings
166.   https://www.youtube.com/watch?v=xLPjBYEPXL8   5 Weddings
167.   https://www.youtube.com/watch?v=SKfFmNLjs5E   5 Weddings
168.   https://www.youtube.com/watch?v=MkTiKEZyZ-U
169.   https://www.youtube.com/watch?v=v220SddNuZk
170.   https://www.youtube.com/watch?v=S-hj8jdzN4c
171.   https://www.youtube.com/watch?v=SZ3RrZ8ajzs
172.   https://www.youtube.com/watch?v=duZfOBQzqqE
173.   https://www.youtube.com/watch?v=o7Djt_6Bn9U
174.   https://www.youtube.com/watch?v=sAafKlSWhms
175.   https://www.youtube.com/watch?v=xVBYSZbghh0
176.   https://www.youtube.com/watch?v=LaXZyIjfcFU   5 Weddings
177.   https://www.youtube.com/watch?v=KyalEm3AfQM   5 Weddings
178.   https://www.youtube.com/watch?v=0u6G71bAEUQ   Americanizing Shelley
179.   http://www.youtube.com/watch?v=n8u_eLJJEVw    Americanizing Shelley
180.   http://www.youtube.com/watch?v=g7TeGRwEhts    Americanizing Shelley
181.   http://www.youtube.com/watch?v=wsFG-0Vty_w    Americanizing Shelley
182.   http://www.youtube.com/watch?v=NAN9enJCRTs    Americanizing Shelley
183.   http://www.youtube.com/watch?v=O61nlXAOJRU    Americanizing Shelley
184.   http://www.youtube.com/watch?v=Cwn4BYB3chw    Americanizing Shelley
185.   http://www.youtube.com/watch?v=O4pf5XO12v0    Americanizing Shelley
186.   http://www.youtube.com/watch?v=g7fsmXEwNCk    Americanizing Shelley
187.   http://www.youtube.com/watch?v=sqxaZV3eRN8    Americanizing Shelley
188.   http://www.youtube.com/watch?v=uKFfxB28Bnk    Americanizing Shelley



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        Case 3:20-cv-04423-JD Document 248-21 Filed 02/13/23 Page 25 of 27




189.   http://www.youtube.com/watch?v=bYBW5wzLvC0   Americanizing Shelley
190.   http://www.youtube.com/watch?v=dU-4xOm08oI   Americanizing Shelley
191.   http://www.youtube.com/watch?v=dXYCzInmOeY   Americanizing Shelley
192.   http://www.youtube.com/watch?v=2b5BTAQNZ3E   Americanizing Shelley
193.   http://www.youtube.com/watch?v=2jabc9ScwC8   Americanizing Shelley
194.   http://www.youtube.com/watch?v=q9Ga2g0DZ5c   Americanizing Shelley
195.   http://www.youtube.com/watch?v=2243Pm_38F4   Americanizing Shelley
196.   http://www.youtube.com/watch?v=hcx_L3c6nGs   Americanizing Shelley
197.   http://www.youtube.com/watch?v=UD3F6wpkhZg   Americanizing Shelley
198.   http://www.youtube.com/watch?v=WXcYtHMwLew   Americanizing Shelley
199.   http://www.youtube.com/watch?v=qVLSBBp9tB4   Americanizing Shelley
200.   http://www.youtube.com/watch?v=7i0yRcLv-yM   Americanizing Shelley
201.   http://www.youtube.com/watch?v=tm18PPB81OQ   Americanizing Shelley
202.   http://www.youtube.com/watch?v=eooKBn0EMws   Americanizing Shelley
203.   http://www.youtube.com/watch?v=tmdVYldVMZc   Americanizing Shelley
204.   http://www.youtube.com/watch?v=buIdiBm9D4g   Americanizing Shelley
205.   http://www.youtube.com/watch?v=c4zBodI5mxQ   Americanizing Shelley
206.   http://www.youtube.com/watch?v=lC27DRmEmYQ   Americanizing Shelley
207.   http://www.youtube.com/watch?v=r3zyzvYiJ-A   Americanizing Shelley
208.   http://www.youtube.com/watch?v=3f0IUEEsf8M   Americanizing Shelley
209.   http://www.youtube.com/watch?v=XkQq0x34eLQ   Americanizing Shelley
210.   http://www.youtube.com/watch?v=JjjhGdSb7d4   Americanizing Shelley
211.   http://www.youtube.com/watch?v=QCzUyIny0x0   Americanizing Shelley
212.   http://www.youtube.com/watch?v=u2zf7r4JqCc   Americanizing Shelley
213.   http://www.youtube.com/watch?v=1z_NE2e0Z7s   Americanizing Shelley
214.   http://www.youtube.com/watch?v=N1YOJWSLuRg   Americanizing Shelley
215.   http://www.youtube.com/watch?v=Et9pCK3Kw9c   Americanizing Shelley
216.   http://www.youtube.com/watch?v=O-aLmGtd8BA   Americanizing Shelley


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        Case 3:20-cv-04423-JD Document 248-21 Filed 02/13/23 Page 26 of 27




217.   http://www.youtube.com/watch?v=TvkuMoq--SI   Americanizing Shelley
218.   http://www.youtube.com/watch?v=_btX7GfWj1s   Americanizing Shelley
219.   http://www.youtube.com/watch?v=dj2PeRb2jF4   Americanizing Shelley
220.   http://www.youtube.com/watch?v=K0RRxi5ZJQE   Americanizing Shelley
221.   http://www.youtube.com/watch?v=NUr3Q8QdaLI   Americanizing Shelley
222.   http://www.youtube.com/watch?v=mg3okGoy2X4   Americanizing Shelley
223.   http://www.youtube.com/watch?v=ovox4DeaA3U   Americanizing Shelley
224.   http://www.youtube.com/watch?v=W2cXzhv-Wh4   Americanizing Shelley
225.   http://www.youtube.com/watch?v=2DTS5uv_CLU   Americanizing Shelley
226.   http://www.youtube.com/watch?v=6m-k-jnYb9A   Americanizing Shelley
227.   http://www.youtube.com/watch?v=fyE8bEuPuNE   Americanizing Shelley
228.   http://www.youtube.com/watch?v=izsB0IiaQVo   1 a Minute
229.   http://www.youtube.com/watch?v=4zaSWbAwQMM   1 a Minute
230.   http://www.youtube.com/watch?v=TYZp3Yoa1BM   1 a Minute
231.   http://www.youtube.com/watch?v=MU4tQVkwdDU   1 a Minute
232.   http://www.youtube.com/watch?v=oZ_DXytqCZE   1 a Minute
233.   http://www.youtube.com/watch?v=yKnahbi8V2U   1 a Minute
234.   http://www.youtube.com/watch?v=WZU80Qj_k8M   1 a Minute
235.   http://www.youtube.com/watch?v=xOKNzP2JJoc   1 a Minute
236.   http://www.youtube.com/watch?v=mmDB9mr1-wU   1 a Minute
237.   http://www.youtube.com/watch?v=2_C8fwdKXqQ   1 a Minute
238.   http://www.youtube.com/watch?v=COLhvHjwfN8   1 a Minute
239.   http://www.youtube.com/watch?v=fkgMNRVQEWw   1 a Minute
240.   http://www.youtube.com/watch?v=GSd3sKrJCOQ   1 a Minute
241.   http://www.youtube.com/watch?v=XyyyyhlPtD0   1 a Minute
242.   http://www.youtube.com/watch?v=VvjTJn5f6rw   1 a Minute
243.   http://www.youtube.com/watch?v=o4PslasNv2E   1 a Minute
244.   http://www.youtube.com/watch?v=nJNtX4Eqlag   1 a Minute


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        Case 3:20-cv-04423-JD Document 248-21 Filed 02/13/23 Page 27 of 27




245.   http://www.youtube.com/watch?v=F6wkWO0q_8Q   1 a Minute
246.   http://www.youtube.com/watch?v=zG9vvXtlCzg   1 a Minute
247.   http://www.youtube.com/watch?v=qcNHbiu9Mu8   1 a Minute
248.   http://www.youtube.com/watch?v=--S0kaee5wo   1 a Minute
249.   http://www.youtube.com/watch?v=FaEjyb7lGok   1 a Minute
250.   http://www.youtube.com/watch?v=jqsD2iI-iVU   1 a Minute
251.   http://www.youtube.com/watch?v=PrsUssh1rpI   1 a Minute
252.   http://www.youtube.com/watch?v=txCC4NZxk8g   1 a Minute
253.   http://www.youtube.com/watch?v=asESv2lu7yU   1 a Minute
254.   http://www.youtube.com/watch?v=K43Q4uCh1jE   1 a Minute
255.   http://www.youtube.com/watch?v=uwi20PJCSKQ   1 a Minute
256.   http://www.youtube.com/watch?v=u9ZpxEu9Dk0   1 a Minute




                                               26
